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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Bynum : CIVIL ACTION

: nw. 18 5395

Murray, et. al.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the
time of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth
on the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk
of court and serve on the plaintiff and all other parties, a Case Management Track Designation

Form specifying the track to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. (L)

(b) Social Security - Cases requesting review of a decision of the Secretary of Health and Human
Services denying plaintiff Social Security Benefits. (_])

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. (L])

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. (L)

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases. (Ly)
(f) Standard Management - Cases that do not fall into any one of the other tracks. 555 (Xt)
DEC 43 2018 4. a C2
Date Deputy Clerk Attorney for
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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UNITED STATES DISTRICT COURT

»
i“ \ FOR THE EASTERN DISTRICT OF PENNSYLVANIA «
Gee 18 5395

 

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 1287 County Welfare Road, Leesport, PA 19533
Address of Defendant:
Berks

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No [ |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No [ |
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No [ |
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes ii-J No [|
case filed by the same individual?

I certify that, to my knowledge, the within case Dis / 1 isnot related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare. 12/13/2018 Sut Mek

Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

 

 

 

CIVIL: (Place a \V in one category only)

 

 

 

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[1 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
[] 2. FELA L] 2. Airplane Personal Injury
LI 3. Jones Act-Personal Injury LI 3. Assault, Defamation
LI 4. Antitrust [] 4. Marine Personal Injury
[] 5. Patent [] 5. Motor Vehicle Personal Injury
L] 6. Labor-Management Relations L] 6. Other Personal Injury (Please specify):
7. Civil Rights LI 7. Products Liability
(1 8. Habeas Corpus L] 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases L] 9. All other Diversity Cases
L] 10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

I, , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

DATE:

 

Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

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Vinceat Hvnum

 

 

(In the space above enter the full name(s) of the plaintiff(s).)

 

 

- against -
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OPical Olbice Murrrc A COMPLAINT
U pal \ cal OF 8 cer ‘Arwc CU under the
~n xx OU n) é Civil Rights Act, 42 U.S.C. § 1983
ot ical Ollicec Yay dALD (Prisoner Complaint)

 

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Jury Trial: Yes O No

(check one)

 

 

 

 

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(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
as necessary.

Plaintiff Name Vicee al youn
ID#_2Dit (414
Current Institution \yey 5 Canons | Nol Sushe on
Address \2 eB) County Ly e\Yare Rood 7

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B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption. Attach additional sheets of paper as necessary.

Defendant No. 1 Name_( 40 Murra 1 Shield # NIA

Where Currently Employed Ke vK: 5 C Oud. , ni
Address \2% / Cs oud I wel Sare De
Leespurt 0.0. 19535-9344

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Defendant No Name Ch \ Deicé : Shield # A
Where toa Tack Bers C, ours { \ai\
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Address \/)% L{ PUN UW selsare id wl
2 V20O6
Lee Sie what \ 1843 GAq4

Defendant No. 3 Name C | C) ‘aw MO Shield #_N\\ A
Where Currently Employed Ke «As ‘& buon Jil
Address _\) %] Coral Ab yf ue efi we Rood.
leegoork, 9.0. 19533-43294
m1 me

Defendant No. 4 Name of Fecal SP ; Shield # NLA
Where Currently Employed _\yevV\s Co Ue wy Jail
Address \2 a County uu e\ave COO) A
leesonet 0.0. 19535 42 5 Ox A4

 

 

 

 

Defendant No. 5 Name Shield #
Where Currently Employed
Address

II. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

 

 

 

 

A. m what institution did the events giving rise to your claim(s) occur?
Ail Bigsien

B. Whete i in the institution did the events giving rise to your claim(s) occur? (DC \LQ_ (jou }
(the Wate)

Cc. What date and approximate time did the events giving rise to your claim(s) occur? (Qe 12: | 4

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the Jail Seen it alsa Cawerens
Who else
saw what
happened?

 

 

 

 

Ill. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical .
treatment, if any, you required and received. { j icl yt lnnve 00 C ols but + dd

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IV. Exhaustion of Administrative Remedies:

The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “ [n]o action shall be
brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a

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prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.” Administrative remedies are also known as grievance procedures.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes Vv No Rien!

If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Ae i Ks Couat ry Jarl

 

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes 4 No Do Not Know

Gc: Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
arose cover some or all of your claim(s)?

Yes No Do Not Know 4

If YES, which claim(s)?

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes Vv No

If NO, did you file a grievance about the events described in this complaint at any other jail,
prison, or other correctional facility?

Yes___—No v

 

 

 

 

 

 

 

E. If you did file a grievance, about the events described in this complaint, where did you file the
grievance?
Berks County tail

1. Which Jaen in this complaint did you grieve? \A\S rected, MAC, — Us ACO (ly

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2. What was ihe result, ifany? = ~_ a(o Wis So Qinnye r (4 00) wher Pipe ond Cem

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3, What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to MASE one wi boty
the highest level of the grievance process. fT +00) the “Yolloudina processeS wh nti - \ for

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F, If you did not file a grievance:
L. If there are any reasons why you did not file a grievance, state them here:
2. If you did not file a grievance but informed any officials of your claim, state who you

informed, when and how, and their response, if any:

 

 

 

 

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative

remedies.

 

 

 

 

 

 

 

Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

Vv. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that

 

 

 

you are seeking and the basis for such amount). 1) Gm ool You 1a +s Ser Gar
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VI. Previous lawsuits:
A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
On
these
claims Yes No /
B. If your answer to A is YES, describe each lawsuit by answering questions | through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
the same format. )

1. Parties to the previous lawsuit:

Plaintiff

 

Defendants

 

2 Court (if federal court, name the district; if state court, name the county)

3. Docket or Index number

 

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On
other
claims

 

 

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4, Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending? Yes No

If NO, give the approximate date of disposition

 

ih What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?)

 

 

 

Cc. Have you filed other lawsuits in state or federal court?
Yes No V
D. If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same format.)

 

 

 

 

 

1. Parties to the previous lawsuit:

Plaintiff

Defendants

2. Court (if federal court, name the district; if state court, name the county)
3. Docket or Index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending? Yes = =No___

If NO, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?)

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.
\9
Signed this 4>- day of pl ov |G ,2018.

nomen NEE
Signature of Plaintiff __ | (Du nian

Inmate Number 2.0\%- \A\4

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Vi WiCeN |, BN num 4 7 OVG- \4 i4

Institution Address Pe t / we Cor Tails

 

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide

their inmate numbers and addresses.

I declare under penalty of perjury that on this | g day of ov ,201 8% ,lam delivering
this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the

Eastern District of Pennsylvania.

ry

Signature of Plaintiff: V. / JU

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